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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

QAMAR LEWIS and                                    Case No: 23-cv-745-WWB-DCI
REGINALD MARSHALL-
HOWARD

       Plaintiffs,
 v.

 OPG SECURITY LLC and
 DUANE S. BROOM II

      Defendants.
___________________________________________/
 JOINT MOTION TO EXTEND DEADLINE TO CONTINUE SETTLEMENT
  DISCUSSIONS, SUBMIT JOINT REPORT REGARDING SETTLEMENT,
          AND INCORPORATED MEMORANDUM OF LAW

      Defendants OPG Security LLC and Duane S. Broom II and Plaintiff Reginald

Marshall-Howard, by and through their respective undersigned counsel hereby

request an extension of the deadline to continue settlement discussions and file

their joint report regarding settlement through and including March 27, 2024, for

good cause shown.

      In accordance with this Court’s Scheduling Order, the Parties were required

to meet and confer in a good faith effort to settle all pending issues no later than

February 15, 2024, and required to file a report regarding settlement no later than

March 6, 2024. Doc. 32. The Parties, through counsel, met and conferred in person

in good faith efforts to settle Plaintiff’s claims on February 8, 2024, and have
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continued efforts through email with exchanges of offers and counteroffers.

      The Court’s Order provides “in the event that the parties are unable to settle

the case in the time provided above but wish to continue settlement discussions

for a specific period of time, the parties shall file a motion requesting an extension

of time to file the settlement report [and] [t]he motion must state good cause for

the extension of time.” Id. This Motion follows.

      Federal Rule of Civil Procedure 6(b)(1) provides “[w]hen an act may or must

be done within a specified time, the court may, for good cause, extend the time . .

. with or without motion or notice if the court acts, or if a request is made, before

the original time or its extension expires . . . .” Fed. R. Civ. P. 6(b)(1). “‘Good

cause’ is a well-established legal phrase.” Larweth v. Magellan Health, Inc., No. 6:18-

cv-823-Orl-41DCI, 2019 U.S. Dist. LEXIS 237206, at *32 (M.D. Fla. July 16, 2019).

“Although difficult to define in absolute terms, [good cause] generally signifies a

sound basis or legitimate need to take judicial action.” Id. (citation omitted).

Moreover, “A district court has inherent authority to manage its own docket ‘so as

to achieve the orderly and expeditious disposition of cases.’” Equity Lifestyle

Props., Inc. v. Fla. Mowing & Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009)

(quoting Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S. Ct. 2123, 115 L. Ed. 2d 27

(1991)).




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       There is good cause for an extension of the deadline to continue settlement

discussions and submit a report regarding settlement. The Parties continue to

engage in good faith settlement negotiations, which have been delayed some due

the Parties additional investigation into Plaintiff’s claims and Defendants’

defenses, exchange of additional documents, and unavailability of one of the

Parties due to a personal health matter. The Parties would like additional time to

continue settlement discussions and submit a report regarding settlement. The

Parties suggest that this additional time may provide for continued, meaningful

settlement discussions.

       Based on the foregoing good cause and the Court’s inherent authority to

manage its docket, the Parties request that the Court grant this Motion, and extend

the deadline for the Parties to continue settlement negotiations and to file a joint

report regarding settlement up to and including March 27, 2024. 1

       Respectfully submitted this 6th day of March, 2024.

        /s/ Brandon J. Gibson                    /s/ Jamie L. White
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1 A three-week extension is requested instead of shorter due to pre-planned travel of defense

counsel who will be unavailable March 15-March 25, 2024.
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                              Certificate of Service

      I hereby certify that on this 6th day of March, 2024, the foregoing was

 electronically filed through the CM/ECF system, which will send a notice of

 electronic filing to Plaintiff’s counsel Brandon J. Gibson of KELLERGIBSON,

 PLLC, 3800 Inverrary Blvd, Ste. 400D, Lauderhill, Florida 33319.

                                            /s/Jamie White
                                            Attorney




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